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granted by the Secretary of the Navy, or except
as otherwise provided herein, it is understood and agreed that only such
unmanufactured articles, naterials, and supplies as have been`mined or
produced in the United States, and only such manufactured articles,
' b Supplies as have been manufactured in the United States
, v antially all from articles; materials, or supplies mined, produced
or;'anufactured, as the case may be, in the United States, shall bey
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produced, or manufactured, as the case may be,
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